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{If you need additional space for ANY section, please attach an additional sheet and reference that section.)

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

 

 

 

 

 

EASTERN DIVISION
Neil Richard Firszt ) fe i A f=
) a
) DEC 212021 OX
° ) THOMAS G. BRUTON
) CLERK, U.S. DISTRICT COURT
Plaintiff(s), )
)
YS. )
) 1:21-cv-06798
Torr Bresnahan ) Judge Elaine £. Bucklo
) Magistrate Judge Young B. Kim
, ) CAT2/ RANDOM
y _ +
)
Defendant(s). )

COMPLAINT FOR VIOLATION OF CONSTITUTIONAL RIGHTS

This form complaint is designed to help you, as a pro se plaintiff, state your case in a clear
manner. Please read the directions and the numbered paragraphs carefully. Some paragraphs
may not apply to you. You may cross out paragraphs that do not apply to you. All references
to “plaintiff” and “defendant” are stated in the singular but will apply to more than one
plaintiff or defendant if that is the nature of the case.
1. This is a claim for violation of plaintiff's civil rights as protected by the Constitution and

laws of the United States under 42 U.S.C. §§ 1983, 1985, and 1986.
2. The court has jurisdiction under 28 U.S.C. §§ 1343 and 1367.
3. Plaintiffs fullname is___Ne’! Richard Firszt

If there are additional plaintiffs, fill in the above information as to the first-named plaintiff
and complete the information for each additional plaintiff on an extra sheet.

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]
 

 

 

4.

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[If you need additional space for ANY section, please attach an additional sheet and reference that section.]

Defendant, Terri Bresnahan vis
(name, badge number if known)

 

an officer or official employed by CCSD59
(department or agency of government)

 

or

Q an individual not employed by a governmental entity.

Uf there are additional defendants, fill in the above information as to the first-named
defendant and complete the information for each additional defendant on an extra sheet.

5.

The municipality, township or county under whose authority defendant officer or official

acted is _ VILLAGE OF ELK GROVE VILLAGE . As to plaintiffs federal

 

constitutional claims, the municipality, township or county is a defendant only if

custom or policy allegations are made at paragraph 7 below.

On or about 99/15/2021 , at approximately 9;00 Aam.O p.m.
(month,day, year)

plaintiff was present in the municipality (or unincorporated area) of

THE VILLAGE OF ELK GROVE VILLAGE _| in the County of COOK

 

State of Illinois, at GROVE JR. HIGH SCHOOL

(identify location as precisely as possible)

when defendant violated plaintiff's civil rights as follows (Place X in each box that
applies):

arrested or seized plaintiff without probable cause to believe that plaintiff had
committed, was committing or was about to commit a crime;

searched plaintiff or his property without a warrant and without reasonable cause;
used excessive force upon plaintiff;

failed to intervene to protect plaintiff from violation of plaintiff's civil rights by
one or more other defendants;

failed to provide plaintiff with needed medical care;

conspired together to violate one or more of plaintiff's civil rights;

Other:

ORO OOO QO

 

 

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[If you need additional space for ANY section, please attach an additional sheet and reference that section,]

 

7. Defendant officer or official acted pursuant to a custom or policy of defendant

municipality, county or township, which custom or policy is the following: (Leave blank

The G "s Order 2021-18
if no custom or policy is alleged): @ Sovernors Urder

 

 

 

 

8. Plaintiff was charged with one or more crimes, specifically:

 

 

 

 

 

9. (Place an X in the box that applies. If none applies, you may describe the criminal
proceedings under “Other”) The criminal proceedings

C] are still pending.
O were terminated in favor of plaintiff in a manner indicating plaintiff was innocent.'
QO Plaintiff was found guilty of one or more charges because defendant deprived me of a

fair trial as follows

 

 

othe: “THe CA NAC ae CED 1 WVOS

 

‘Examples of termination in favor of the plaintiff in a manner indicating plaintiff was innocent
may include a judgment of not guilty, reversal of a conviction on direct appeal, expungement of the
conviction, a voluntary dismissal (SOL) by the prosecutor, or a nolle prosequi order.

3

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]
 

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[If you need additional space for ANY section, please attach an additional sheet and reference that section.]

10. _— Plaintiff further alleges as follows: (Describe what happened that you believe
supports your claims. To the extent possible, be specific as to your own actions and
the actions of each defendant.)
Defendant TERRI BRESNAHAN, while acting as school district superintendent for the Community
Consolidated School District 59, dba CCSD59, did fail, and continues to fail to perform acts and duties

imposed upon her by law. and she did so with the intent to deprive the Complainants offspring of rights
secured to him under Title 42, US Code SECTION 1983, Civil Action for Deprivation of Rights, under facts

 

 

Defendant TERRI BRESNAHAN is employed as the superintendent of schools for CCSD59.

 

CCSD59 resides in the Village of Elk Grove Village, IL

 

Defendant TERRI BRESNAHAN did receive an “affidavit
fact’, labeled evidence 1, on 09/14/2021.

The “affidavit of fact” was sent by way of USPS Certified Mail bearing Certified Mail #7021 0350 0000
7615 7770.

The “affidavit of fact” was sent, signed, and was had notarized by Complainant NEIL RICHARD FIRSZT.

 

Defendant TERRI BRESNAHAN possesses the ability to read and understand words, sentences, paragraphs, and complete
pages at a high school level or above and can use her ability at will.

 

The “affidavit of fact” informed Defendant TERR! BRESNAHAN that her actions against Complainant NEIL RICHARD FIRSZT's
Offspring and Personal Property were criminal actions.

The “affidavit of fact” received by defendant TERRI BRESNAHAN informed her that her actions are in violation
of United States Constitutional laws.

The “affidavit of fact” received by defendant TERRI BRESNAHAN informed her that her actions were in
violation of Illinois Constitutional laws.

The “affidavit of fact” received by defendant TERRI BRESNAHAN informed her which Constitutional Laws she is
breaking. CONTINUED ON SEPARATE PAGE. .

 

 

 

 

11. Defendant acted knowingly, intentionally, willfully and maliciously.

12. As aresult of defendant’s conduct, plaintiff was injured as follows:

Defendant TERRI BRESNAHAN has intentionally deprived the Complainant of that to which
has statutory rights, she has done so under color of law and of official right, and she did so

willingly and with the knowledge she is in violation of the Constitution of the United States o
America.

 

 

 

13. Plaintiff asks that the case be tried by ajury. O Yes Xx] No

[If you need additional space for ANY section, please attach an additional sheet and reference that section.]
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[If you need additional space for ANY section, please attach an additional sheet and reference that section.]

14. Plaintiff also claims violation of rights that may be protected by the laws of Illinois, such
as false arrest, assault, battery, false imprisonment, malicious prosecution, conspiracy,

and/or any other claim that may be supported by the allegations of this complaint.

WHEREFORE, plaintiff asks for the following relief:

A. Damages to compensate for all bodily harm, emotional harm, pain and suffering,
loss of income, loss of enjoyment of life, property damage and any other injuries
inflicted by defendant;

B. & (Place X in box if you are seeking punitive damages.) Punitive damages
against the individual defendant; and

C. Such injunctive, declaratory, or other relief as may be appropriate, including

attorney’s fees and reasonable expenses as authorized by 42 U.S.C. § 1988.

 

Plaintiff's signature:

 

Plaintiff's name (print clearly or type): Neil Richard Firszt

clo 430 CR 279

 

Plaintiff’s mailing address:

 

City _Liberty Hill State TX ZIP 78642

 

Plaintiff's telephone number: ( 970 ) 290-1551

 

Plaintiffs email address (if you prefer to be contacted by email):

 

15. Plaintiff has previously filed a case in this district. DO Yes & No

If yes, please list the cases below.

Any additional plaintiffs must sign the complaint and provide the same information as the first
plaintiff. An additional signature page may be added.

 

5

[If you need additional space for ANY section, please attach an additional sheet and reference that section.)
 

 

Respondents:

Terri Bresnahn

Superintendent of Schools

Community Consolidated School District 59

1001 Leicester Road | Elk Grove Village, IL 60007
Certified Mail #7021 0350 0000 7615 7770

Randy Reid

Schoo! Board President

Community Consolidated School District 59

1001 Leicester Road | Elk Grove Village, IL 60007
Certified Mail # 7021 0350 0000 7615 7794

Courtney Lang

School Board Vice president

Community Consolidated School District 59

1001 Leicester Road | Elk Grove Village, IL 60007
Certified Mail # 7021 0950 0001 4716 0504

Patricia Petrielli

School Board Secretary

Community Consolidated School District 59

1001 Leicester Road | Elk Grove Village, IL 60007
Certified Mait # 7021 0950 0001 4716 0511

Daisy Espino

School Board Member

Community Consolidated School District 59

1001 Leicester Road | Elk Grove Village, IL 60007
Certified Mail #7021 0350 0000 7615 7725

Robert Mancilla

School Board Member

Community Consolidated School District 59

1001 Leicester Road | Elk Grove Village, IL 60007
Certified Mail # 7021 0350 0000 7615 7893

Dr. Joseph Sagerer

School Board Member

Community Consolidated School District 59

1001 Leicester Road | Elk Grove Village, IL 60007
Certified Mail # 7021 0350 0000 7615 7879

Mardell Schumacher

School Board Member

Community Consolidated School District 59

1001 Leicester Road | Elk Grove Village, IL 60007
Certified Mail # 7021 0350 0000 7615 7886

CECr Meo MAIC dE DOH 0750 068/ FHC f23-4

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Affiant:
Neil Richard Firszt ®: man
c/o 430 CR 279 Liberty Hill, TX
 

 

 

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John Harrington

Principal

Grove Junior High (member of Consolidated School District 59)
777 Elk Grove Blvd. | Elk Grove Village, IL 60007

Certified Mail # 7021 0350 0000 7615 7862

Ms. Laena Devito

Assistant Principal

Grove Junior High (member of Consolidated School District 59)
777 Elk Grove Blvd. | Elk Grove Village, IL 60007

Certified Mail # 7021 0350 0000 7615 7732

Philip Stevens

Assistant Principal

Grove Junior High (member of Consolidated School District 59)
777 Elk Grove Blvd. | Elk Grove Village, IL 60007

Certified Mail # 7021 0350 0000 7615 7749

All Sixth Grade Teachers at Grove Junior High will also receive a copy of this legal notice.
Grove Junior High (member of CCSD59)
777 Elk Grove Blvd. | Elk Grove Village, IL 60007
 

 

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Dear Sir/Madame,

The Community Consolidated School District 59 continues to enforce mask mandates,
promote vaccines and vaccine propaganda, and enforce other restrictions/requirements
for indoor activities, that while they may be well-intended, are completely unlawful.
Notification of unlawful activity is the first step in due process of law. See: Connally
vy. General Constniction Co., 269 U.S. 1

“A criminal statute which either forbids or requires the doing of an act in terms so vague
that men of common intelligence must guess at its meaning and differ as to its
application, lacks the first essential of due process of law.”

This letter is lawful notification to you that your actions are in violation of the United
States Constitution, the Illinois State Constitution, the Americans with Disabilities Act,
the Civil rights Act of 1964, and the Federal Food, Drug, and Cosmetics (FD&C) Act.
Pursuant to your non-authority to enforce unlawful mandates, this requires your written
response to me within 14 (fourteen) days of receipt of this letter.

If you disagree with anything I have provided to you within the enclosed and sworn
affidavit, then please rebut that with which you disagree, in writing, with particularity,
to me, and support your disagreement with evidence, fact, and valid law. Your failure
to respond, as stipulated, is your agreement with and admission to the fact that
everything in this letter is true, correct, legal, lawful, and is your irrevocable
agreement attesting to this, fully binding upon you, in any court in America, without
your protest or objection or that of those who represent you. Silence is acquiescence.
See: U.S. v. Tweel, 550 F. 2d. 297

“Silence can only be equated with fraud where there is a legal or moral duty to speak or
where an inquiry left unanswered would be intentionally misleading."

Taking this action brings me no joy. Alternatively, I will happily, and preferably rescind my
legal notice, provided the unlawful mask mandate imposed by the district is rescinded.

Sincerely,

WV

4 :
Neil Richard Firszt ®': man

  
 

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AFFIDAVIT OF FACT

I, a man, Neil Richard Firszt, am over the age of consent, am of sound mind, am a creation of
God-Almighty and a follower of God's laws first and foremost, and the laws of man when they
are not in conflict (Leviticus 18:3.4). Pursuant to Matthew 5:33-37 and James 5:12, let my yea be
yea, and my nay be nay, as supported by Federal Public Law 97-280, 96 Stat, 1211 —

 

"Whereas the Bible, the Word of God, has made a unique contribution in shaping the
United States as a distinctive and blessed nation and people" and

"Whereas Biblical teachings inspired concepts of civil government that are contained in
our Declaration of Independence and the Constitution of the United States" and

“Whereas...the Bible is "the rock on which our Republic rests".

I have personal knowledge of the matters stated herein and hereby asseverate, understanding both
the spiritual and legal liabilities of,

"Thou shalt not bear false witness against thy neighbor".

A. Unlawful Mask Order

On August 04, 2021, Governor J.B. Pritzker signed the illegitimate “Executive Order Number
18”, which is unlawful as neither he, nor any person in his administration, has signed an
assumption of liability agreement”, and has not provided proper evidence that an emergency
exists to warrant such an order and and/or any of the requirements in said order. Evidence, such
as isolation of the virus in question, and/or proof that it exists would need to be provided to
continue enforcement of this executive order. He has also failed to prove ideas like, “Germ
Theory”, which would show solid evidence that the so-called SARS-CoV-2 virus, which has not
been isolated nor shown to exist, is indeed transmissible from human being to human being
and/or from a bat to a human being, as rumored in the origins of the “novel virus” in question.
The Governor has not provided evidence that any of the policies that have been put in place by
his order, such as “mask wearing”, and/or participation in experimental gene therapy, and/or
social distancing, and/or sanitizing, and/or weekly CoVID testing, are of any benefit, short or
long term, to men and women and/or young men and women, to slow the spread of a so-called
virus that still has not been found and/or shown to exist. He has also not provided any evidence
that any, and/or all of the requirements in the order (which are not law), are safer than
experiencing the “so-called virus” itself, naturally, as God intended. Executive order Number 18
also assumes corporate jurisdiction over the natural man which does not exist.

| declare myself a man and my offspring and personal property, Jacob Leo Firszt ® , a
young man (Penhallow v. Doane's Administrators (3 U.S. 54; 1 L.Ed. 57; 3 Dall, 54) No
Corporate Jurisdiction Over The Natural Man.
 

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The Supreme Court of the United States 1795, “Inasmuch as every government is an artificial
person, an abstraction, and a creature of the mind only, a governments can interface only with
other artificial persons.The imaginary, having neither actuality nor substance, is foreclosed from
creating and attaining parity with the tangible. The legal manifestation of this is that no
government, as well as any law, agency, aspect, court, etc. can concern itself with anything other
than corporate, artificial persons and the contracts between them.” §.C.R. 1795, (3 U.S. 54; 1
L.Ed; 3 Dall. 54).

B. Right to Bodily Autonomy

The Common Law right not to have our bodies touched or invaded without our consent is so well
established that most of us take its existence for granted. The Supreme Court of the United States
has described it as:

“The most "sacred" of rights. [Caitlin Borgmann, The Constitutionality o
Government-Imposed Bodily Intrusions, 2014 U_ ILL. L. REV. 1059 (2014).]

For this principle, Professor Borgmann cites Union P.R. Co. v. Botsford, 141 U.S. 250, 251
(1891)

("No right is held more sacred or is more carefully guarded by the common law than the
right of every individual to the possession and control of his own person, free from all
restraint or interference of others unless by clear and unquestionable authority of law.").

Simply put, the Supreme Court has ruled We, the People have a right to be in control of our own
bodies unless by clear and unquestionable authority of law. However, I cannot find any laws that
deny We, the People our right to bodily autonomy.

C. United States Federal Government Limitations

Neither the Executive branch nor the Legislative branch of the United States Federal
Government have been granted the authority to make health or healthcare decisions for We, the
People. The lawmaking power of United States Congress is limited by the enumerated powers
defined in Article | Section 8 of the US Constitution:

“The Congress shall have Power To lay and collect Taxes, Duties, Imposts and Excises,
to pay the Debts and provide for the common Defense and general Welfare of the United
States; but all Duties, Imposts and Excises shall be uniform throughout the United States;

To borrow Money on the credit of the United States;

To regulate Commerce with foreign Nations, and among the several states, and with the
Indian Tribes;

To establish an uniform Rule of Naturalization, and uniform Laws on the subject of
Bankruptcies throughout the United States;
 

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To coin Money, regulate the Value thereof, and of foreign Coin, and fix the Standard of
Weights and Measures;

To provide for the Punishment of counterfeiting the Securities and current Coin of the
United States;

To establish Post Offices and post Roads;

To promote the Progress of Science and useful Arts, by securing for limited Times to
Authors and Inventors the exclusive Right to their respective Writings and Discoveries;

To constitute Tribunals inferior to the supreme Court;

To define and punish Piracies and Felonies committed on the high Seas, and Offences
against the Law of Nations;

To declare War, grant Letters of Marque and Reprisal, and make Rules concerning
Captures on Land and Water;

To raise and support Armies, but no Appropriation of Money to that Use shall be for a
longer Term than two Years;

To provide and maintain a Navy;
To make Rules for the Government and Regulation of the land and naval Forces;

To provide for calling forth the Militia to execute the Laws of the Union, suppress
Insurrections and repel Invasions;

To provide for organizing, arming, and disciplining, the Militia, and for governing such
Part of them as may be employed in the Service of the United States, reserving to the
States respectively, the Appointment of the Officers, and the Authority of training the
Militia according to the discipline prescribed by Congress;

To exercise exclusive Legislation in all Cases whatsoever, over such District (not
exceeding ten Miles square) as may, by Cession of particular States, and the Acceptance
of Congress, become the Seat of the Government of the United States, and to exercise like
Authority over all Places purchased by the Consent of the Legislature of the State in
which the Same shall be, for the Erection of Forts, Magazines, Arsenals, dock-Yards, and
other needful Buildings;—And

To make all Laws which shall be necessary and proper for carrying into Execution the
foregoing Powers, and all other Powers vested by this Constitution in the Government of
the United States, or in any Department or Officer thereof.”

The powers of the United States Executive branch are defined in Article II Section 2 of the US
Constitution:

“The President shall be Commander in Chief of the Army and Navy of the United States,
and of the Militia of the several States, when called into the actual Service of the United
States; he may require the Opinion, in writing, of the principal Officer in each of the
executive Departments, upon any Subject relating to the Duties of their respective
 

 

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Offices, and he shall have Power to grant Reprieves and Pardons for Offences against
the United States, except in Cases of Impeachment.

He shall have Power, by and with the Advice and Consent of the Senate, to make Treaties,
provided two thirds of the Senators present concur; and he shall nominate, and by and
with the Advice and Consent of the Senate, shall appoint Ambassadors, other public
Ministers and Consuls, Judges of the supreme Court, and all other Officers of the United
States, whose Appointments are not herein other- wise provided for, and which shall be
established by Law: but the Congress may by Law vest the Appointment of such inferior
Officers, as they think proper, in the President alone, in the Courts of Law, or in the
Heads of Departments. The President shall have Power to fill up all Vacancies that may
happen during the Recess of the Senate, by granting Commissions which shall expire at
the End of their next Session.”

and Article II Section 3:

“He shall from time to time give to the Congress Information of the State of the Union,
and recommend to their Consideration such Measures as he shall judge necessary and
expedient; he may, on extraordinary Occasions, convene both Houses, or either of them,
and in Case of Disagreement between them, with Respect to the Time of Adjournment, he
may adjourn them to such Time as he shall think proper; he shail receive Ambassadors
and other public Ministers; he shall take Care that the Laws be faithfully executed, and
shall Commission all the Officers of the United States.”

D. Illinois May Not Supersede the US Constitution

Pursuant to Article VI Clause 2 of the US Constitution, the US Constitution is the Supreme Law
of the Land:
“This Constitution, and the Laws of the United States which shall be made in Pursuance
thereof; and all Treaties made, or which shall be made, under the Authority of the United
States, shall be the supreme Law of the Land; and the Judges in every State shall be
bound thereby, any Thing in the Constitution or Laws of any State to the Contrary
notwithstanding.”

Any attempt of the Illinois State government to supersede the US Constitution with intent to
violate bodily autonomy, via state statute or executive order, exceeds the enumerated powers of
the govemment granted by We, the People, is repugnant to the US Constitution, and is therefore

unenforceable. See: Marbury y, Madison, 5 US (2 Cranch) 137, 174, 176, (1803)

"All laws which are repugnant to the Constitution are null and void."

E. illinois State Government Limitations

Neither the Executive nor the Legislative departments of the Illinois State Government have been
granted the authority to make health or healthcare decisions for We, the People. Article IV
 

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Section 1 and Section 13, of the Illinois State Constitution defines the powers of the Illinois State
Legislature:

 

Article IV Section 1. LEGISLATURE - POWER AND STRUCTURE

“The legislative power is vested in a General Assembly consisting of a Senate
and a House of Representatives, elected by the electors from 59 Legislative Districts and
118 Representative Districts. (Source: Amendment adopted at general election November
4, 1980.)”

Article IV Sectioni3. SPECIAL LEGISLATION

“The general assembly shall pass no special or local law when a general law is
or can be made applicable. Whether a general law can be made applicable shall be a
matter for judicial determination.”

 

and Article V Section 8. defines the powers of the Executive department:

Section 8. GOVERNOR SUPREME EXECUTIVE POWER

“The Governor shall have the supreme executive power, and shall be responsible
Jor the faithful execution of the laws.”

F. Discrimination Against Americans with Disabilities

Individuals with breathing difficulties who are not able to wear a face covering are protected

from discrimination under Title Ill Reg 28 Code of Federal Regulations (CFR) §36.105, in

pertinent part, as follows:

(a)(1) Disability means, with respect to an individual:

(i) A physical or mental impairment that substantially limits one or more of the major
life activities of such individual;

(()(1) Major life activities include, but are not limited to:

(i) Caring for oneself; performing manual tasks, seeing, hearing, eating, sleeping,
walking, standing, sitting, reaching, lifting, bending, speaking, breathing, learning,
reading, concentrating, thinking, writing, communicating, interacting with others, and
working;

Under Title ili Reg 28 Code of Federal Regulations (CFR) §36.104(12), in pertinent part, public
schools are legally defined as a place of public accommodation:

“Place of public accommodation means a facility, operated by a private entity, whose
operations affect commerce and fall within at least one of the following categories --

(10) A nursery, elementary, secondary, undergraduate, or postgraduate private school, or
other place of education;
 

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Community Consolidated School District 59 is therefore bound to uphold and support Title III

Reg 28 Code of Federal Regulation (CFR) §36.202(a), which reads as follows:

"A public accommodation shall not subject an individual or class of individuals on the
basis of a disability or disabilities of such individual or class, directly, or through
contractual, licensing, or other arrangements, to a denial of the opportunity of the
individual or class to participate in or benefit from the goods, services, facilities,
privileges, advantages, or accommodations of a place of public accommodation."

and The Illinois Constitution Article [. Section 19. NO DISCRIMINATION AGAINST THE
HANDICAPPED which reads as follows.

“All persons with a physical or mental handicap shall be free from discrimination in the sale or
rental of property and shall be free from discrimination unrelated to ability in the hiring and
Promotion practices of any employer.”

(775 ILCS 5/5-101) Illinois Human Rights Act (from Ch. 68, par. 5-101)
Sec. 5-101. Definitions. The following definitions are applicable strictly in the context

of this Article:
(A) Place of Public Accommodation. "Place of public accommodation" includes, but is not limited
to:
(1) an inn, hotel, motel, or other place of lodging,
except for an establishment located within a building that contains not more than 5 units for rent
or hire and that is actually occupied by the proprietor of such establishment as the residence of
such proprietor;
(2) a restaurant, bar, or other establishment serving
food or drink;
(3) a motion picture house, theater, concert hall,
stadium, or other place of exhibition or entertainment;
(4) an auditorium, convention center, lecture hail,
or other place of public gathering;
(5) a bakery, grocery store, clothing store, hardware
 

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Store, shopping center, or other sales or rental establishment;
(6) a laundromat, dry-cleaner, bank, barber shop,
beauty shop, travel service, shoe repair service, funeral parlor, gas station, office of an
accountant or lawyer, pharmacy, insurance office, professional office of a health care
provider, hospital, or other service establishment;
(7) public conveyances on air, water, or land;
(8) a terminal, depot, or other station used for
specified public transportation;
(9) a museum, library, gallery, or other place of public display or collection;
(10) a park, zoo, amusement park, or other place of recreation;
(Il) a non-sectarian nursery, day care center, elementary, secondary, undergraduate, or
postgraduate school, or other place of education;
(12) a senior citizen center, homeless shelter, food bank, non-sectarian adoption agency, or
other social service center establishment; and
(13) a gymnasium, health spa, bowling alley, golf course, or other place of exercise or
recreation.

(B) Operator. "Operator" means any owner, lessee, proprietor, manager, superintendent,
agent, or occupant of a place of public accommodation or an employee of any such person

or persons
(C) Public Official. "Public official" means any officer or employee of the state or any
agency thereof, including state political subdivisions, municipal corporations, park districts,

forest preserve districts, educational institutions, and schools.

G. Right to Privacy

Ihe Fourth Amendment of the US Constitution protects We, the People’s right to privacy:

“The right of the people to be secure in their persons, houses, papers, and effects, against
unreasonable searches and seizures, shall not be violated, and no Warrants shall issue,

but upon probable cause, supported by Oath or affirmation, and particularly describing
the place to be searched, and the persons or things to be seized.”
Article _|_ Section 6. SEARCHES, SEIZURES, PRIVACY AND INTERCEPTIONS of the Illinois
Constitution also protects right to privacy:

“The people shall have the right to be secure in their persons, houses, papers and
other possessions against unreasonable searches, seizures, invasions of privacy or
interceptions of communications by eavesdropping devices or other means. No warrant
shall issue without probable cause, supported by affidavit particularly describing the
place to be searched and the persons or things to be seized.”

 

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CULENE 4

H. Religious Discrimination

Wo/men and/or their offspring who decline to wear a face covering for truly held religious
convictions are protected from discrimination as follows:

The Eirst Amendment of the US Constitution:

"Congress shall make no law respecting an establishment of religion, or prohibiting the

free exercise thereof; or abridging the freedom of speech, or of the press; or the right of
the people to peaceably assemble, and to petition the government for a redress of
grievances.”

Article | Section 3. RELIGIOUS FREEDOM of the Illinois Constitution

“The free exercise and enjoyment of religious profession and worship, without
discrimination, shall forever be guaranteed, and no person shall be denied any civil or
political right, privilege or capacity, on account of his religious opinions; but the liberty
of conscience hereby secured shall not be construed to dispense with oaths or
affirmations, excuse acts of licentiousness, or justify practices inconsistent with the peace
or safety of the State. No person shall be required to attend or support any ministry or
place of worship against his consent, nor shall any preference be given by law to any
religious denomination or mode of worship.”

42 U.S, Code Chapter 21 §2000a(a):
"All persons shall be entitled to the full and equal enjoyment of the goods, services,
facilities, privileges, advantages, and accommodations of any place of public
accommodation, as defined in this section, without discrimination on the ground of race,
color, religion, or national origin."

I. Right to Refuse

On February 4th of 2020 the Secretary of the Department of Health and Human Services, issued a
statement authorizing the emergency use of personal protective equipment (e.g. face masks) and
in vitro diagnostics to address the COVID-19 disease.

The right to refuse administration of products authorized for emergency use is defined under Title
21 US Code -3(e)(1)(A)G1)-ID) of the Federal Food, D metic A
Act), in pertinent part, as follows:

“(e) Conditions of authorization

(1) Unapproved product

Il
 

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Cucence 4

(A) Required conditions

With respect to the emergency use of an unapproved product, the Secretary, to the
extent practicable given the applicable circumstances described in subsection
(b)(1), shall, for apersonwho carries out any activity for which the
authorization is issued, establish such conditions on an authorization under this
section as the Secretary finds necessary or appropriate to protect the public
health, including the following:

(ii)Appropriate conditions designed to ensure that individuals to whom
the product is administered are informed—

(D that the Secretary has authorized the emergency use of the product;

(tl) of the significant known and potential benefits and risks of such use, and
of the extent to which such benefits and risks are unknown; and

(iil) of the option to accept or refuse administration of the product, of the
consequences, if any, of refusing administration of the product, and of the
alternatives to the product that are available and of their benefits and
risks.

lilinois Constitution Article XI Section 2. Rights of Individuals

“Each person has the right to a healthful environment. Each person may enforce this
right against any party, governmental or private, through appropriate legal
proceedings subject to reasonable limitation and regulation as the General
Assembly may provide by law.”

J. Federal Trespasses

ADA - Americans with Disabilities Act of 1990

US Bill of Rights - Amendment |

US Bill of Rights - Amendment IV (Property)

US Bill of Rights - Amendment X

10 US Code §894, Article 94; Mutiny or Sedition

Title 18 §241 Conspiracy Against Rights

Title 18 §242 Deprivation of Rights Under Color of Law

Title 21 US Code §360 Food, Drug, & Cosmetics Act

18 US Code §472 Uttering Counterfeit Obligations or Securities

18 US Code §514 Fictitious Obligations

Title 42 §1983 Deprivation of rights, privileges, and immunities secured by the
Constitution and Laws

US Title 52, Civil Rights Act of 1964

K. Illinois Constitution Trespasses
IL Article | Section 1. [Inherent and Inalienable Rights]

IL Article | Section 3. [Religious Freedom]
IL Article | Section 6. [Searches, Seizures, Privacy and Interceptions]

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C UW DENCE 4

IL Article XI Section 2. [Rights of Individuals]

I, a man, Neil Richard Firszt, am noticing and providing opportunity for respondents, 14
(fourteen) days to rebut my Affidavit of Fact point for point.

Failure to rebut the facts stated herein shall serve as tacit agreement and acquiescence from
respondents that all herein be true.

I declare and will testify viva voce, in open court, under penalty of perjury that all herein be true.
Executed on this day, of the month, in the year of our Lord and Savior, two |

thousand twenty-one.

Neil Richard Firszt ® “a ma

   
     

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Evicence 1

NOTICE OF LIABILITY & FEE SCHEDULE

I, Neil Richard Firszt, serve Notice to any man, woman, PERSON, doing business as or acting for
the STATE OF ILLINOIS, COUNTY OF COOK, COUNTY OF DuPAGE, VILLAGE OF ELK
GROVE VILLAGE, GROVE JUNIOR HIGH SCHOOL, or CCSD59, who believes they possess
authority to Administer my Property without my consent, expressed in the form of an obligation
[contract] containing my wet ink autograph, that I have personal knowledge of and asseverate the

following:

1. 1, Neil Richard Firszt ® , man, claim my body, information, and genetic material, are my Property.

2. 1, Neil Richard Firszt ® , man, claim Jacob Leo Firszt ® , young man, while under the age of
consent, is my Property

3. 1, Neil Richard Firszt ® , man, am not Property of any man, woman, or PERSON, doing business
as, or acting for, a corporation of any type.

4. I, Neil Richard Firszt ® , man, have no obligation [contract] with any man, woman, or PERSON,
doing business as, or acting for, a corporation of any type.

5. I, Neil Richard Firszt ® , man, have not relinquished rights to any man, woman, or PERSON,
doing business as, or acting for, a corporation of any type.

6. 1, Neil Richard Firszt ® , man, have no obligation [contract] to acknowledge, believe, or adhere to
laws, statutes, ordinances, codes, et. al, authored by other men, women, PERSONS, doing
business as, or acting for, a corporation of any type.

7. Starting on the 10" day of September henceforth, the fine for each incident of Trespass and
Administration of my [Neil Richard Firszt ® , man] property without right is $500,000 per
man/woman involved in a non-physical trespass, and $1,000,000 for a physical trespass.

8. The fine for each utterance of a forged document against me, Neil Richard Firszt ® , man, is
$1,000,000 per wo/man involved.

9. Fines may be enforced through the Commercial Lien process against each wo/man in their
individual capacity.

70. Fines may be enforced through a formal Judicial process in a Court of Record, with all the
qualities and incidents of a Court of Record at Common Law.

11. Any Attorney that involves himself/herself in any matter involving me, Neil Richard Firszt ® , man,
and my property, will not only be B.A.R. Grieved, but will be served Affidavits and a Notice of
Claim for Trespassing and Administering property without right, and for uttering forged
documents, in the amount of $1,000,000 per each incident.

72. Any Attorney that involves himself/herself in any matter involving me,Neil Richard Firszt ® , man,
will have State and Federal criminal complaints filed against hirn/her.

73. This Notice is enforceable from the day of its receipt by the Wrongdoer.

I declare and will testify vixa voce, in open court, under penalty of perjury that all herein
be true. Executed on this (7 day, of the 12” month, in the year of our Lord and Savior,
two thousand and twenty-one.

4 ae

Lx“ 4 [ aed
Neil Richard Firszt ® : a man

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EVIDENCE 4

JURAT CERTIFICATE

Notary used without prejudice to my rights:

BE IT REMEMBERED, That on this (7 day of VEcEm BEQ

in the year of our LORD, two thousand and twenty-one, personally appeared before me,

the Subscriber, a Notary Republic and as Jurat Certificate of Acceptance by court officer

for (YOUR) State, First Middle Last, party to this Document, known to me personally to
be

such, and s/he acknowledged this Document to be her act and deed. Given under my

hand and seal ice, day and year aforesaid.

L Sa
Stongtue and seal of No neRetaub Tic AOB HORE HPXAB HARD TULP TULP

 

wee 2 Notary Public, State of Texas

fs aS Comm. Expires 08- 06-2022

Fas ts
alee Notary ID 131871055
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END NOTICE OF LIABILITY AND FEE SCHEDULE

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Evilencté AL

Neil Richard Firszt ®;a man

co/ 430 CR 279
Liberty Hill, TX 78642

NOTICE OF CLAIM

In The Matter

Of:

Neil Richard Firszt ® ; a man and his
Offspring and Personal Property; a
young man

% 430 CR 279

Liberty Hill, TX

To:

Respondent: Terri Bresnahan; a woman
School District Superintendent CCSD59
1001 Leicester Road

Elk Grove Village, IL 60007

Certified Mail #

Dear
Respondent:

AClaim has been made against you for the amount of $7,000,000.01 for your role and
actions in commandeering my Offspring and personal Property and violating his basic
human rights for profit by way of intimidation; for being non-compliant with the
Constitutions, Laws, and Sworn Oaths that bind you: for being non-compliant with, and
exceeding, and failing to use the limited powers that were delegated to you; and for the
damages that your role and actions in this matter have caused me. You have already
received the Affidavit of Fact via USPS Certified Mail bearing Certified mail # 7021 0350
0000 7615 7770 on 09/14/2021 regarding these matters.

The Respondent has 15 days upon receipt to either rebut the Affidavit of Fact point-for-point, with their
 

 

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Affidavit, or | will begin to proceed with Administrative, Civil, and Criminal remedies against the
Respondent. Failure to rebut the Affidavit of Fact will result in the Respondent's tacit agreement and
acquiescence that the facts set forth in it are true, correct, accurate, not misleading, and binding to the
Respondent. This may result in a Claim being filed against each Respondent and the unrebutted Affidavit
of Fact being used against the Respondent in future Civil and Criminal proceedings.

1, Neil Richard Firszt ® ; a man, further notice the Respondents that | reserve all of my rights to file a
Civil action in Federal District Court under Title 42 Section 1983, for the deprivation of rights,
privileges, and immunities secured by the Constitutions and Laws.

I,Neil Richard Firszt ®; a man, further notice the Respondents that | reserve all all of my rights to file
Criminal complaints for any actions that are found to be non-compliant with, 18 U.S.C. § 241 -
Conspiracy against rights; 18 U.S.C. § 242 - Deprivation of rights under color of law; 18 U.S. Code §
1341- Frauds and swindles; 18 U.S. Code $ 2073 - False entries and reports of moneys or securities;
18 U.S. Code $ 513 - Securities of the States and private entities; 18 U.S. Code § 514 - Fictitious
obligations; 18 U.S. Code $ 876(d) - Mailing threatening communications; and 18 U.S.C. § 1001 -
Statements or Entries Generally.

|, Neil Richard Firszt ® ;a man, further notice any Persons operating as the CCSD59, D-U-N-S number:
964133107, (Community Consolidated School District 59), and/or the municipal corporation known as the
The Village of Elk Grove Village D-U-N-S number: 072316587; that if it is discovered that they have
played a role in the matters set forth in the attached Affidavit of Fact, or, if they are found to be parties
claiming to possess either interest, authority, right, power, or jurisdiction, involving |, Neil Richard Firszt ®
; aman, and my Offspring and Personal Property; a young man; that | reserve all rights to pursue
Administrative, Civil, and Criminal remedies against each of them, in their individual capacities, for their
roles and actions in compromising my Personal Property, my Estate, my State, and my Status; and for the
deprivation of my rights, privileges, and immunities, secured and protected by the Constitutions and
Laws.

Maxims of Commerce: All are equal under the law, in commerce truth is sovereign, truth is expressed in
the form of an affidavit, an unrebutted affidavit stands as truth in commerce, an unrebutted affidavit
becomes the judgement in commerce, sacrifice is the measure of credibility.

b, —_.

Neil Richard Firszt ®; a man
 

 

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Neil Richard Firszt ®; a man
% 430 CR 279
Liberty Hill, TX

NOTICE OF DEFAULT

In The Matter Of:

Neil Richard Firszt ®; a man and
his Offspring and Personal Property
Jacob Leo Firszt ®, a young man

To:

Terri Bresnahan; a woman

Superintendent of Community Consolidated School District 59
1001 Leicester Rd

Elk Grove Village, IL 60007

Certified Mail # 7020 3160 0001 7030 3128

Dear Respondent:

You are in default of claims made against you in the Affidavit of Fact received on
09/14/21 (certified mail number #7021 0350 0000 7615 7770) for your role and actions
in compromising the rights of my Offspring and personal Property. You have (3) three
days upon receipt of this notice to cure with rebuttal of the Affidavit of Fact
point-for-point, with your Affidavit, or | will begin to proceed with Administrative, Civil,
and Criminal remedies against you. Failure to cure is tacit agreement and
acquiescence that the facts set forth in the affidavit of fact received on 09/14/21 are
true, correct, accurate, not misleading, and binding. This will result in a Claim being
filed against you and the unrgbutted Affidavit of Fact being used in Civil and Criminal
proceedings.

    
 
 
  

Neil Richard Firszt ®; a man
 

 

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CVIlDEN CE

Mail body: Fwd: Concerned Parent regarding “return to school”

 

Sent from my iPhone

Begin forwarded message:

Front: "Bresnahan, Tern" <bresnahan terri@ccsd59.org>

Date: August 17, 2021 at 5:02:06 PM CDT

To: Neil Firsat <neil@neilfirszt.com>

Subject: Re: Concerned Parent regarding “return to school”

Dear Mr. Firszt:

| have received and reviewed your communication from the evening of Wednesday, August 11". | have also reviewed the e-mail
correspondence you sent recently to the members of our Board of Education and most, if not all, of our staff at Clearmont
Elementary School and Grove Junior High School.

want to address your three main concerns first: COcore ge CLAW
/

1, Masking is required. The Governor's Executive Order 2021-18 is a mandatory order and compliance by the District is not
optional. Failure to comply with the order may jeopardize the District's immunities under the Tort Immunity Act and could
result in the District’s loss of State funding and/or the loss of ability to participate in Illinois Elementary School Association
athletic competitions, “7

2. COVID testing is voluntary. The District is offering COVID testing through the University of Illinois-developed SHIELD
system. Itis a saliva-based test that has proven highly reliable in countless applications. Your children are not required to
participate in the COVID testing.

3. Providing vaccine status is optional. We are requesting this information from our students ages 12 and older to provide the
District with information that may allow for adjustments to mitigation strategies in our junior high buildings. Your student
over the age of 12 is not required to provide his or her vaccine status.

You have made your views known and you should not expect further responses from the District. Please recognize that in
declining to respond further the District does not subscribe to your views nor does it accept your requests, demands, and
assertions.

Further, continued email communications of the sort which you sent to staff will result in the application of blocking filters by our
network. You are requested to direct your future communications to me. For the time being, the Board of Education will be
informed, but we will take appropriate measures to protect the time and security of our staff.

Communications specifically regarding your child’s academic or school performance will be forwarded to the appropriate staff
member.

Regards,

Dr. Terri Bresnahan

photo i | Dr. Terri Bresnahan (she/her)
Superintendent of Schools
Community Consolidated School District 59
1001 Leicester Road | Elk Grove Village, iL 60007
Ph: 847.593.4404

On Wed, Aug 11, 2021 at 9:11 PM Neil Firszt <neikcuncilfirszt.con wrote:
| Good evening,

| Thank you for your prompt email response but since you don't know how to follow instructions, or demonstrate that you know how
| to follow instructions, I will consider it a non-reply and your first strike. You only get two more, so don't waste them swinging for the
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COMMERCIAL GENERAL LIABILITY DECLARATIONS
OCCURRENCE

Issued By Liberty Mutual Fire Insurance Co.

Policy Number TB2-291-445907-031
New
Account Number 9-445907

Named insured and Mailing Address
Community Consolidated Schoo! District 59
1001 Leicester Rd

Elk Grove Village IL 60007

Form of Business: All Other

INSURANCE

Issuing Office FOREST PARK, OH
Issue Date 2021-07-19
Sub Account 0000

Franchise 4130

Policy Period: ‘Ihe policy period is from 07/01/2021 to 07/01/2022 12:01 A.M. standard time at the Insured’s mailing

address.

In return for the payment of the premium, and subject to all the terms of this policy, we agree with you to provide the

insurance as stated in this policy.

 

LIMITS OF INSURANCE

 

 

Each Orcurrence Limit f 1,000,000
Damage to Premises Rented tu ‘You Linil > 100,000 Any one premises
Medical Expense Limit $ 5,UUU Any one person
Personal & Advertising Injury Limit $ 1,000,000
General Aggregate Limit $ 2,000,000
Products Completed Operations Aggregate |.imil § 2,00U.0U0
SCHEDULE
The declarations are conpleled un lhe accompanying “Veclarations Extension Schedule(s)”.
Commercial General Liability Coverage Part Premium $
Endorsement Premium $
Total Estimated Premium $
Policywriting Minimum Premium $ 1,000
Forms Applicable: See Attached Inventory
WILLIS T 0073003152
WILLIS TOWERS WATSON MIDWEST, INC
233 S WACKER DR STE 2000
CHICAGO IL 606066400
LC 00 04 08 12 © 2012 Liberty Mutual Insurance. All rights reserved. Page 1 of 1

includes copyrighted material of Insurance Services Office. Inc. with

its permission.
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SCHOOL LEADERS ERRORS AND OMISSIONS LIABILITY DECLARATIONS .
Liberty
CLAIMS-MADE Mutual

INSURANCE

Issued by Liberty Mutual Fire tnsurance Company

 

Policy Number R62-291-445907-041 Issuing Office 0161
Renewal of New issue Date 07/29/2021
Account Number 9-445907 Sub Account 000d
Named Insured and Mailing Address Franchise

COMMUNITY CONSOLIDATED SCHOOL DISTRICT 59
1001 Lettester Kd
Elk Grove Village IL 600073443

Form of Business Other

Poticy Period: The policy period is from 07/01/2021 to 07/01/2022 12:01 A.M. standard time at the Insured's
mailing address.

In retum for the payment of the premium, and subject to all the terms of this policy, we agree with you to provide
the insurance as stated in this policy.

 

LIMITS OF INSURANGF

 

Each Wrongful Act I innit $ 1,000,000
Aggregate Limit $ 1,000,000
Aggregate Defensc Expense Amount — Non-Monetary Relief $ 100,0UU
DEDUCTIBLE
One “Wrongful Act” Deductible $ 5,000
RETROACTIVE DATE

This insurance does not apply to “wrongful acts” committed before the Retroactive Date, if any, shown here {Enter
Date ur “Nurie” if iio Relroaclive Date applies): Retroactive date: 07/01/2002

 

CLAIMS-MADE INCEPTION DATE: 07/01/2013

 

SCHEDULE
The declarations are completed on the accompanying “Declarations Extension Schedule(s)”.
School Leaders Errars and Omissions Liability Coverage Part Premium
Endorsement Premium
Total Estimated Premium
Other Charge(s)

PAAWAH

 

Poticywriting Minimum Premium $1,750
Forms Applicable: See Attached Inventory

Producer 0073 003152

WILLIS TOWFRES: WATSON MIDWEST, INC
233 S WACKER DR STE 2000

CHICAGO IL 606066400

LC 60 18 07 20 © 2U19 Liberty Mutual insurance Paye t of |
includes copyrighted material of Insurance Services Office, Inc., wilh its permission.
